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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN THE MATTER OF:                            :          MISCELLANEOUS
                                             :
STEPHEN DANIEL BRINTON                       :          NO. 20-mc-0091



                                         ORDER

              AND NOW, this 2nd day of November, 2020, respondent having been

ordered on September 3, 2020, to show cause, within thirty (30) days, why he should

not be suspended from the practice of law in this court for a period of three (3) years,

with six months to be served. The remaining suspension period is stayed, and he is

placed on probation for two years and six months, subject to conditions, effective thirty

(30) days from July 27, 2020, and respondent having answered and not requested a

hearing, it is hereby

              ORDERED that respondent is suspended from the practice of law in this

court for a period of three (3) years, with six months to be served. The remaining

suspension period is stayed, effective thirty (30) days from July 27, 2020, and until

further order of this court.



                                             BY THE COURT:




                                             /s/ Juan R. Sánchez
                                             JUAN R. SÁNCHEZ
                                             Chief Judge
